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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F MONTANA

BILLINGS DIVISION
REX FARR, on Behalf of Himself ) l:lG-cv-O()l l9-SPW-TJC
and Gthers Similarly Situated, )
)
Plaintiff, )
) GRDER APPROVING
vs. ) SETTLEMENT AND
) DISMISSING CASE WITH
PINNACLE SERVICES, INC., ) PREJUDICE
)
Defendant. )

 

Upon motion of the parties to the above-captioned civil action, the court
having reviewed the Settlement Agreement and Release of Claims between the
parties filed under seal as ECF Doc. 41, and good cause appearing,

THE COURT HEREBY FINDS that the Settlement Agreernent and Release
of Claims reflects a reasonable compromise of the issues actually in dispute in this
matter, that the settlement Was reached in an adversarial context in Which the
plaintiffs Were represented by competent and experienced counsel, and that the
totality of the settlement is fair and reasonable Accordingly, the Settlernent
Agreement and Release of Claims is hereby APPROVED as to its terms and

conditions

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This case is dismissed With prejudice Payment of costs and fees shall be as
set forth in the Settlement Agreement and Release of Claims.

Dated this day of February, 2018.

 

THE HON. TIMOTHY J. CAVAN
U.S. Magistrate Judge

Ora'er Approvl`ng Settlement and Dismissing Case with Prejudice
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